Case 2:OB-Cv-05726-DSF-CV.Document 122 Filed 11/27/06 we 1 of 7 Page |D #:155

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L_JA ome s for Counterdefendant
v BlEN Nl§S OF THE ISRAEL DEFENSE FORCES

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* :

Plaintiff,

V.

GLOBAL PEACE INITIATIVE, INC.

a corporation; KILAR] ANAND PAUL, an
1ndiv1dua1; DOUG DODSON, an individual,
DENNIS RYAN an 1nd1v1dual; DAVID
MC UADE,an1nd1vidual;GOSPELFOR
THE NREACHED MILLIONS, INC.,

a Corporation; and DOES 1 - 50,

Defendants.

And related counterclaim

 

 

 

FRIEN S OF THE ISRAEL DEFENSE FORCES

11121§'1\11)8 OF ISRAEL DEFENSE FORCES,

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UNITED STATES DISTRICT COURT FOR THE
. CEN'I`RAL DISTRICT OF CALIFORNIA

Case No.
CV 05-5726 DSF (CWx)

r1`he Honorable Dale S. Fischer

STIPULA'I`ION OF

DISMISSAL PURSUANT TO
FED. R. CIV. PROC. %/5]1£]({1)
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Tria| Date: November 14, 2006

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Case 2:05-cv-05726-DSF-CV\.)ocument 122 Filed 11/27/06 P.e 2 017 Page |D #:156

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S'riPuLATIoN '-f;
This Stipulation of Dismissal is made by and between the following parties;ib
this action: PiaintiffFriends of Israel Defense Forces (“FIDF”) and Defendants `T
Global Peace Initiative, Inc. (“GPI”), Gospel for the Unreached Millions, Inc.
(“GUM”), Kilari Anand Paul (a/k/a Anand Kilari, a/k/a K.A. Paul, a/k/a Dr. Paul)
(“Kilari”), and David l\/IcQuade (co1lectively, the “Parties”).

WHEREAS the Parties have reached a Settlement Agreement with respect to
this action;

WHEREAS Dennis Ryan was named as a defendant but he was dismissed
from the action by virtue of the fact that he was not served with the Complaint and
summons at the time of the Final Pretrial Conference;

WHEREAS defendant Doug Dodson is missing and cannot be located to
execute the Settlement Agreement or this Stipulation;

WHEREAS the Settlement Agreement requires, among other things, that
Kilari, GPl, and GUM make monthly payments in the amount of One Thousand
Two Hundred and Fifty Dollars ($1,250.00) per month to FIDF, beginning on
February 5, 2007, until the principal sum of Seventy Five Thousand and One Dollar
(3375,001.00) is paid in full (the “Monthly Settlement Payments”);

WHEREAS the Settlement Agreement provides that if Kilari, GPI, and GUM
fail to timely make the Monthly Settlement Payments, FIDF can enter a Stipulated
Judgment against Kilari, GPI, and GUM, jointly and severally, for the principal sum
of $75,001; and

WHEREAS the Parties desire that the Court retain jurisdiction of this case to
enforce the Settlement Agreement and to enter the Stipulated Judgment in the event
that Kilari, GPI, and GUM fail to timely pay the Monthly Settlement Payments.

THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and
between the Parties through their respective undersigned counsel that:

l. T he First Amended Complaint is hereby dismissed with prejudice

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STIPULATION OF DlSMlSSAL AND [PROPOSED] ORDER THEREON

 

 

Case 2:05-cv-05726-DSF-CV\.)ocument 122 Filed 11/27/06 Pf 3 of 7 Page |D #:157

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2. The Counterclaim is hereby dismissed with prejudicel 11

3. Notwithstanding the foregoing, the Parties stipulate to the Court z
retaining jurisdiction of this case in order to enforce the Settlement Agreement and
to enter the Stipulated Judgment in the event that GPI, GUM, and Kilari breach the
Settlement Agreement as set forth therein and as described more specifically below.

a. In accordance With Section 3.1 of the Settlement Agreement,
beginning on February 5, 2007, and continuing thereafter on the fifth of each
month, GPI, GUM, and/or Kilari shall deliver to the offices of David Boros,
Esq. a cashier’s check or certified check, payable to the “David Boros Client
Trust Account” in the amount of $l,250.00. These Monthly Settlement
Payments shall continue until the total principal balance of $75,001.00 is paid
in full. The payments shall be delivered to the following address: David
Boros, Esq., 5405 Altori Parkway, Suite 5A #222, Irvine, CA 92604, and
must be received by Mr. Boros’s office on the fifth of each month in order to
be timely.

b. In accordance with Section 3.2 of the Settlement Agreernent, if a
Monthly Settlement Payment is not received by Mr. Boros on the fifth of any
month, FIDF shall send a notice of breach to Kilari by facsimile to the
following fax number: Anand Kilari, (281) 324-6869 (the “Notice”). Kilari,
GPI, and/or GUM shall have three calendar days from the date in which the
Notice is faxed to deliver the payment and cure the breach.

c. ln accordance with Section 3.3 of the Settlement Agreement, in
the event that a Monthly Settlement Payment is not received by Mr. Boros
within three calendar days of the Notice being faxed, FIDF may file the
Stipulation and apply ex parte to the Court, without further notice or service
to Defendants or their counsel, for entry of Judgment. ln the event that the
Notice cannot be sent because K.ilari’s facsimile number does not work for

any reason, FIDF may file the Stipulation and have the Judgment entered if

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STlPULATlON OF DISMISSAL AND [PROPOSED] ORDER THEREON

 

 

Case 2:OB-cv:05726-DSF-CV\.)ocument 122 Filed 11/27/06 P€ 4 of 7 Page |D #:158

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the payment for that month is not received within three calendar days after:i

the due date for that payment If a Morithly Settlement Payment is made b§a

check (in lieu of a cashier’s check or certified check), and such check doesi»'~i

not ciear the bank for any reason (e.g., is returned for insufficient funds),

FIDF may immediately file the Stipulation and Judgment on an ex parte basis

without any further notice or service, and without providing any further

opportunity to cure.

Dated: November _7.__\_, 2006

Dated: November _, 2006

NAVID SOLEYMANI

 

Attorneys or Plaintiff
FR]ENDS OF THE ISRAEL
DEFENSE FORCES

TIMOTHY G. CEPERLY
STONE ROSENBLATT CHA, PLC

By:

 

Timothy G. Ceperly

Attorneys for Defendants Global Peace
Initiative, Iric., Gospel for the Unreached
Miliions, Inc., Kilari Anand Paul, Doug
Dodson, David McQuade

ORDER

Based on the foregoing, and good cause appearing, it is hereby ORDERED

that the First Arnended Complaint and the Counterclaim are dismissed with

prejudice, and that the Court will retain jurisdiction of this action to enforce the

Settlement Agreement and to enter the Stipulated Judgment in the event that Kilari,

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STlPULATlON OF DlSMlSSAL AND [PROPOSED] ORDER THER_EON

 

 

Case 2:05-cv:05726-DSF-CV\.)ocument 122 Filed 11/27/06 Pf 5 of 7 Page |D #:159

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on an ex parte basis and without any further notice or service, and without providing
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any opportunity to cure. ‘~”
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Dated: Novernber ____, 2006 NAVID SOLEYMANI
PROSKAUER ROSE LLP

By:

 

Navid Soleymani

Attorneys for Piaintiff
FRIENDS OF TI-[E ISRAEL
DEFENSE FORCES

Dated: Novernber 2_22006 TlMOTI-IY G, CEPERLY

sroNE RosE BLATT HA‘,PLC
By: M`» M/
5 Tirnothy/(`%C(eperly /

Attorneys for Defendants Global Peace
Initiative, Inc., Gospel for the Unreached
Millions, Inc., Kilari Anarid Paul, Doug
Dodson, David McQuade

ORDER
Based on the foregoing, and good cause appearing, it is hereby ORDERED

that the First Amended Complaint and the Counterclaim are dismissed with
prejudice, and that the Court will retain jurisdiction of this action to enforce the
Settlement Agreement and to enter the Stipulated Judgment in the event that Kilari,
GPI, and GUM fail to timely pay the Monthly Settlement Payments, as set forth in
the Settlement Agreement.

DATED: November g 2006 q>%£"

The Honorai)le Dale S. Fischer
Judge of the District Court

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ST[PULATION OF DlSMlSSAL AND {PROPOSED] ORDER THEREON

 

 

 

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GPI, and GUM fail to timely

above and in the Settle ent Agreement.

the Monthly Sett ment Payments, as set forth

 

DATED: N ember ____, 2006
// The onorable Dale . ischer
’ Ui'i' ed States Dis ct Court

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2 srArE or cALiFoRNiA, couer or Los ANGELES §§'

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3 1 declare that: lam employed in the County of Los Angeles, California. l am ove:"i'».4
the age of eighteen ears an_d not a (party to the within cause; m business addressiis
4 2049 Century Park ast, Suite 320 , Los Angeles, Caiifornia 9 067~3206.

5 On Novemberll, 2006, I served the foregoing document, described as:

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7 Fiii). R. Civ. PRoC. 41(A)(1) Ai~ii) [PRoPoSEi)] oRi)ER 'i‘iiERi<;oN

Ei by lacin 1:| the original El a true copy thereof enclosed in a sealed envelope
8 addresse as fol ows:

9 Tirnoth G. C_eperley, Esq.
Amy . Lewis l s_q.
10 Robyn M. Mcl<ibbin, Esq.
Stone, Rosenblatt & Cha, PLC
11 21550 Oxriard Street, Suite 200

Woodland Hills, CA 91367

|Zl (By Mail) 1 am “readily fam_il_iar” with the Firm’s practice of collection and
13 processing correspondence for mail_ing. Under that practice the envelope would be
deposited with the U.S. Postal Servi_ce on that_ same day with postage thereon fully
14 prepaid at Los An eles, California, in the ordinary course of_bu_siness. 1 am aware
that on motion of t e party_served, service is resumed invalid if postal canceliation
15 d?l£€;i or postage meter date is more than one ay after date of deposit for mailing in
a 1 avit.

111 (By Fax) By transmitting a true and correct copy thereof via facsimile
17 transmission to:

18 D (By Overnight Courier) By causing su_ch envelope to be delivered the next
business day to the office of the addressees via Federal Express or other similar
19 overnight delivery service.

20 1:1 (By Personal Service)
21 1_1 By personally delivering such envelope to the office of the addressees

22 l:l By causing such envelope to be delivered by messenger to the office of
the addressees

lZ| (Federal) 1 declare that I am employed in the office of a member of the bar of
24 this court at whose direction the service was made.

25 Executed on November £2, 2006, at Los Angeles, California.

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